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 2   Folsom, CA 95630
     Telephone: 916-732-7150
 3
     Attorneys for Defendant
 4
     Jeremy Gachago
 5
 6                       IN THE UNITED STATES DISTRICT COURT
 7                     FOR THE EASTERN DISTRICT OF CALIFORNIA
 8
 9                                              ) Case No.: 2:10-CR-347-MCE
     UNITED STATES OF AMERICA,                  )
10                                              ) STIPULATION AND ORDER
                  Plaintiff,                    ) CONTINUING STATUS CONFERNCE
11                                              )
           v.                                   )
12                                              )
     DISHAN PERERA, et al,                      )
13                                              )
                  Defendant.                    )
14
15
           It is hereby stipulated between the parties, Todd Leras, Assistant United States
16
17
     Attorney, and Michael Chastaine, attorney for Jeremy Gachago, that the status

18   conference/change of plea date of Thursday, October 11, 2012 should be continued until
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     Thursday November 8, 2012. The continuance is necessary as counsel for Mr. Gachagois
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     continuing to engage in negotiations with the government. The Government has
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22   provided a plea agreement. However, the current terms are not acceptable and further
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     negotiation with the government is required.
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26   ///
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            IT IS STIPULATED that the period of time from the October 11, 2012 up to and
 1
 2   including November 8, 2012 be excluded in computing the time within which the trial
 3   must commence under the Speedy Trial Act, pursuant to 18 U.S.C. §3161(h)(7) and
 4
     Local Code T4, for ongoing preparation of counsel. It is further stipulated that the need
 5
 6   for a continuance and continued counsel preparation outweighs the interests of the public
 7   and the defendant in a speedy trial.
 8
 9   .

10   Dated: October 10, 2012                   By: ____/s/ Michael Chastaine
                                               MICHAEL CHASTAINE
11                                             Attorney for Jeremy Gachago
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13
14
     Dated: October 10, 2012                   BENJAMIN B. WAGNER
15                                             United States Attorney
16
                                               By: /s/ Michael Chastaine for Todd Leras___
17                                                    Todd Leras
18                                                    Assistant U.S. Attorney

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                             Case 2:10-cr-00347-DAD Document 212 Filed 10/15/12 Page 3 of 3



 1
 2                                                         ORDER
 3                          GOOD CAUSE APPEARING, in that it is the stipulation of the parties:
 4                          IT IS HEREBY ORDERED that the status conference scheduled for Thursday,
 5   October 11, 2012 at 9:00 a.m. be continued to Thursday, November 8, 2012 at 9:00 a.m.
 6   and that the period from October 11, 2012 to November 8, 2012 is excludable from
 7   calculation under the Speedy Trial Act pursuant to 18 U.S.C. §3161(h)(8)(A) and local
 8   rule T4. Further, that the need for a continuance and continued counsel preparation
 9   outweighs the interests of the public and the defendant in a speedy trial.
10
     Dated: October 15, 2012
11
12                                                       __________________________________
                                                         MORRISON C. ENGLAND, JR
13                                                       UNITED STATES DISTRICT JUDGE
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15   DEAC_Signatu re-END:




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